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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

SYMBOLOGY INNOVATIONS, LLC                        §
                                                  §
       Plaintiff,                                 §       CIVIL ACTION NO.
                                                  §      2:17-cv-02080-CCC-JBC
                                                  §
       v.                                         §   JURY TRIAL DEMANDED
                                                  §
MERCK & CO. INC.                                  §
                                                  §
                                                  §
       Defendant.                                 §

                        NOTICE OF DISMISSAL WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41 (a), Plaintiff Symbology Innovations LLC

(“SI”), moves to dismiss all claims against Defendant Merck & Co., Inc. WITH PREJUDICE,

with each party to bear its own attorneys' fees and costs.




 Dated: June 20, 2017                          By: /s/Jean-Marc Zimmerman
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                                            ATTORNEYS FOR PLAINTIFF
                                            SYMBOLOGY INNOVATIONS LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

documents has been served on June 20, 2017, to all counsel of records who deemed to have

consented to electronic service via the Court’s CM/EFF system per Local Rule LR 5.5(b).


                                                          /s/Jean-Marc Zimmerman
                                                          Jean-Marc Zimmerman
